






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00248-CV






Walter Lee Hall, Jr., Appellant


v.


Suntrust Mortgage, Inc.; Delone Artley; and Ladonna Artley, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT

NO. D-1-GN-10-001065, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant Walter Lee Hall, Jr. filed a bankruptcy petition in the U.S. Bankruptcy
Court of the Western District of Texas on January 24, 2011.  We abated the appeal on June 2, see
Tex. R. App. P. 8.1,&nbsp;8.2, 8.3, ordering Hall to inform us within ten calendar days of the resolution
of the bankruptcy proceeding or another event that would allow us to reinstate the appeal, warning
him that his failure to provide such notice would result in the appeal's dismissal for want of
prosecution.  See id. R. 42.3.   On July 15, we were informed by the appellees in another case filed
by Hall that the bankruptcy had been dismissed on the bankruptcy trustee's motion and that Hall was
barred from filing another bankruptcy petition for two years.  The bankruptcy court signed the order
of dismissal on June 28, but as of July 19, Hall had not informed this Court of the dismissal.  We
dismiss the appeal for want of prosecution on our own motion.


					__________________________________________

					David Puryear,  Justice

Before Justices Puryear, Pemberton and Rose

Dismissed for Want of Prosecution

Filed:   July 21, 2011


